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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   WESTERN DISTRICT OF OKLAHOMA

ANTHONY CASTILLO SANCHEZ,                    )
                                             )
                   Petitioner,               )
                                             )
vs.                                          )      NO. CIV-10-1171-HE
                                             )
CHRISTE QUICK Warden,                        )
                                             )
                   Respondent.               )

                                       ORDER

      In light of the court’s order granting counsel’s motion to withdraw [Doc. #85],

petitioner’s motions for order [Doc. Nos. 78 and 79] are STRICKEN as moot.

      IT IS SO ORDERED.

      Dated this 17th day of August, 2023.
